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                    Exhibit H
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earing Date: No hearing      1:22-cv-01291 Document
                        scheduled                                                                                                                                                                                   #: 1-8 Filed: 03/10/22 Page 2 of 3 PageID #:56
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